Case 1:20-cv-01529-CMH-JFA Document 157 Filed 12/13/21 Page 1 of 1 PagelD# 3864

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES SECURITIES

AND EXCHANGE COMMISSION,
Plaintiff,

Vv. Civil Action No. 1:20-cv-01529

CHRISTOPHER CLARK,

Defendant.

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ORDER

 

THIS MATTER comes before the Court on Defendant Clark's
Oral Motion for Judgment as a Matter of Law pursuant to Rule 50
of the Federal Rules of Civil Procedure. For the reasons stated
from the bench, it is hereby

ORDERED that Defendant’s Motion for Judgment as a Matter of

Law is GRANTED, and this case is DISMISSED.

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
December {> , 2011
